       Case 3:04-cr-00017-RLY-CMM                            Document 24             Filed 06/03/15               Page 1 of 1 PageID #:
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AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                       UNITED STATES DISTRICT COURT
                                                                        for the
                                                           Southern District
                                                         __________ District of
                                                                             ofIndiana
                                                                                __________

                    United States of America
                               v.                                          )
                           Vishnu Bender                                   )
                                                                           )    Case No: 3:04CR00017-001
                                                                           )    USM No: 17746-424
Date of Original Judgment:                               09/15/2006        )
Date of Previous Amended Judgment:                       12/18/2014        )    Pro Se
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   ’ the defendant ’ the Director of the Bureau of Prisons ’ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           ’ DENIED. ’       ✔ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of   300                     months is reduced to 235 months                           .
                                               (Complete Parts I and II of Page 2 when motion is granted)




                          A CERTIFIED TRUE COPY
                          Laura A. Briggs, Clerk
                          U.S. District Court
                          Southern District of Indiana

                          By
                                                Deputy Clerk




Except as otherwise provided, all provisions of the judgment dated                          09/15/2006              shall remain in effect.
IT IS SO ORDERED.

Order Date:               6/03/2015
                                                                                                         Judge’s signature


Effective Date:                11/01/2015                               Honorable Richard L. Young, Chief U.S. District Court Judge
                     (if different from order date)                                                    Printed name and title
